         Case 16-50318               Doc 154         Filed 12/19/18         EOD 12/20/18 11:03:02                Pg 1 of 1


                                         UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF Southern Indiana

                                                      Minute Entry/Order
Hearing Information:
                        Debtor:   ITT EDUCATIONAL SERVICES, INC.
                  Case Number:    16-07207-JMC-7A             Chapter: 7

          Date / Time / Room:     WEDNESDAY, DECEMBER 19, 2018 01:30 PM IP 325

         Bankruptcy Judge:        JAMES M. CARR
              Courtroom Clerk:    HEATHER BUTLER
                Reporter / ECR:   HEATHER BUTLER                                                                                  0.00


Matter:
              ADV: 1-16-50318
              Deborah Caruso vs Securities and Exchange Commission
              Final Hearing on Plaintiff's Motion for Preliminary Injunction with Affidavit/Declaration Showing Compliance with
              Fed.R.Bankr.P. 7065; Objection of Defendant Maura T. Healey; Consumer Financial Protection Bureau; Securities and
              Exchange Commission; Reply of Trustee [3], [19], [21], [22], [23], [76], [84], [87], [98]
              R / M #: 0 / 0



Appearances:

        MEREDITH R. THEISEN, ATTORNEY FOR DEBORAH CARUSO
        DEBORAH CARUSO, ATTORNEY FOR DEBORAH CARUSO
        JOHN C. HOARD, ATTORNEY FOR DEBORAH CARUSO

Proceedings:                                                                                                              1.00

        Disposition: Hearing held. Trustee reports that she reached an agreement with the Consumer Financial
        Protection Bureau, the Commonwealth of Massachusetts and the State of New Mexico for an extension of the
        voluntary stay through 3/31/19. Subject to such agreement, the Court extends the stay pursuant to sections 362
        and/or 105 through 3/31/19. Matter continued to 3/20/19 at 1:30 p.m. Notice given in open court.

IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




Page 1 of 1                                                                                                           12/20/2018 11:02:19AM
